

Massa Constr., Inc. v Meaney (2023 NY Slip Op 00546)





Massa Constr., Inc. v Meaney


2023 NY Slip Op 00546


Decided on February 3, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 3, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., CENTRA, LINDLEY, CURRAN, AND WINSLOW, JJ.


631/22CA 21-00779

[*1]MASSA CONSTRUCTION, INC., PLAINTIFF-APPELLANT,
vJAMES MEANEY, ALSO KNOWN AS THE GENEVA BELIEVER, DEFENDANT-RESPONDENT. (APPEAL NO. 1.) 






BARCLAY DAMON LLP, ROCHESTER (MARK T. WHITFORD, JR., OF COUNSEL), FOR PLAINTIFF-APPELLANT.
GREENBERG TRAURIG, LLP, ALBANY (MICHAEL J. GRYGIEL OF COUNSEL), AND CORNELL LAW SCHOOL FIRST AMENDMENT CLINIC, ITHACA (CHRISTINA N. NEITZEY OF COUNSEL), FOR DEFENDANT-RESPONDENT. 


	Appeal from an order of the Supreme Court, Ontario County (Brian D. Dennis, A.J.), entered May 13, 2021. The order, among other things, granted defendant's motion for summary judgment. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties on January 6 and 19, 2023,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: February 3, 2023
Ann Dillon Flynn
Clerk of the Court








